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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

    UNITED STATES OF AMERICA

    VS.                                            CASE NO: 6:20-cr-97-GAP-LHP

    JOEL MICAH GREENBERG


                                   NOTICE OF HEARING

          TAKE NOTICE that a pre-sentencing hearing is hereby set before the

    Honorable Gregory A. Presnell, United States District Judge, on WEDNESDAY,

    NOVEMBER 30, 2022, at 9:30 A.M. in Courtroom #5A, George C. Young United

    States Courthouse and Federal Building, 401 W. Central Boulevard, Orlando,

    Florida. 90 minutes is reserved for this hearing, during which the Court will hear

    argument on the Government’s Motion for Downward Departure of Defendant’s

    Sentence Based Upon Substantial Assistance (Doc. 154) and argument on objections

    to the guidelines calculations set forth in the presentence report.   Defendant’s

    presence is required at this hearing.
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            Also TAKE NOTICE that the directives and information contained in the

    order to the members of the press entered October 17, 2022 (Doc. 149) apply to this

    hearing as well.

            DONE and ORDERED in Chambers, Orlando, Florida on November 15,

    2022.




    Copies furnished to:

    United States Marshal
    United States Attorney
    United States Probation Office
    United States Pretrial Services Office
    Counsel for Defendant




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